           Case 1:19-cr-00254-ALC Document 125-5 Filed 04/18/23 Page 1 of 4




User Name: Sebastian Swett
Date and Time: Monday, April 17, 2023 2:45:00PM EDT
Job Number: 195111332


Document (1)

 1. Startup makes a splash; Cryptocurrency firm Circle going public via SPAC merger
  Client/Matter: -None-
  Search Terms: "shadow bank" /p cryptocurrency
  Search Type: Terms and Connectors
  Narrowed by:
           Content Type                          Narrowed by
           News                                  Sources: Major U.S. Newspapers




                          | About LexisNexis | Privacy Policy | Terms & Conditions | Copyright © 2023 LexisNexis
                                                    Sebastian Swett
               Case 1:19-cr-00254-ALC Document 125-5 Filed 04/18/23 Page 2 of 4



  Startup makes a splash; Cryptocurrency firm Circle going public via SPAC
                                  merger
                                                      The Boston Globe
                                                      July 9, 2021 Friday


Copyright 2021 Globe Newspaper Company All Rights Reserved

Section: BUSINESS; Pg. B,5,999
Length: 1103 words
Byline: By Aaron Pressman, Globe Staff

Body


ABSTRACT

The deal values the Boston company at $4.5 billion. By merging with Concord Acquisition Corp., Circle's shares will
be traded on the New York Stock Exchange without requiring the lengthy procedures of a traditional IPO.

BODY

Circle Internet Financial Ltd. said on Thursday that it would go public by merging with a special purpose acquisition
company in a deal that values the cryptocurrency firm at $4.5 billion and reflects two of the hottest trends in finance.

Circle, based in Boston, will combine with Concord Acquisition Corp., a shell company formed to raise money and
search for another company to buy. The deal will allow Circle to become a publicly traded company without going
through the lengthy procedures of a traditional initial public offering.

SPACs are the latest fad in the mergers and acquisitions world. The amount of money raised this year by
companies going public via SPACs already exceeds $112 billion, almost 50 percent more than was raised in all of
2020. And that doesn't include additional funds raised in debt offerings when the SPACs merge with target
companies.

And while the price of bitcoin and other cryptocurrencies has been on the decline in recent weeks, the crypto
startup sector is still attracting billions in fresh investments, including Circle's $440 million venture capital deal in
May, the biggest private crypto deal of the year.

Circle also disclosed a variety of legal matters as part of Thursday's announcement.

The company said it is in the process of settling an investigation by the Securities and Exchange Commission into
improper trading of some digital tokens. The settlement is expected to cost $10.4 million, Circle said. The company
is also under investigation by the US Treasury Department's Office of Foreign Assets Control for possible violations
of sanctions against Iran and faces ongoing arbitrations over $15 million of losses suffered in 2019 by customers
trading in a digital currency called CLAM.

All three situations appear to have occurred at Poloniex, a cryptocurrency brokerage that Circle acquired in 2018
and sold just a year later, resulting in a loss of $157 million.

Separately, the company said it's locked in a dispute with one of its advisers, Financial Technology Partners, over
fees for the SPAC deal. FT Partners is seeking 9 percent of what Circle shareholders receive, but no lawsuit has
been filed yet, Circle said.

                                                       Sebastian Swett
              Case 1:19-cr-00254-ALC Document 125-5 Filed 04/18/23 Page 3 of 4
                                                                                                              Page 2 of 3
                  Startup makes a splash; Cryptocurrency firm Circle going public via SPAC merger

The bad news disclosures may be an effort by Circle to avoid problems that have cropped up at other companies
that went public by merging with SPACs. For example, electric vehicle maker Nikola is under investigation by the
SEC and Justice Department for possibly failing to disclose risks during its SPAC merger last year. Its stock price
has plummeted. And in June, a prominent short-selling firm attacked DraftKings for failing to disclose problems at a
software firm it acquired at the same time as its April 2020 SPAC merger.

Circle runs a platform to facilitate transactions in digital currencies like bitcoin. The company is also developing its
own digital currency, called US Dollar Coin, or USDC. Unlike bitcoin and most other cryptocurrencies, Circle's
USDC is a so-called stablecoin: Each USDC is backed by a dollar of standard US currency, so its price shouldn't
see the wild swings that have hit other currencies.

Investors have quickly adopted Circle's stablecoin, with transaction volume totaling $640 billion over the past year.
But questions remain about whether US banking regulators will step in and impose new restrictions that could
smother the incipient market.

By holding dollars in escrow to back all of its digital stablecoins, Circle is in some ways acting like a money market
fund or a bank but with much less oversight, some critics said.

"Despite trying to position itself as the 'good' stablecoin that follows the rules, its business model is still
fundamentally one of a shadow bank, and will remain unstable until regulators recognize and treat it as a proper
bank, with all the protections and oversight that entails," said Rohan Grey, a law professor at Willamette University
who follows the sector.

Circle's other businesses, helping people transact in all kinds of digital currencies, also have promise. Credit card
giant Visa said this week that consumers spent more than $1 billion of cryptocurrency linked to Visa credit cards in
the first half of 2021. Circle is a Visa partner, allowing credit card users and retailers to transact in digital currencies.

"Circle is focused on an attractive part of the crypto-ecosystem," said Lisa Ellis, who follows the payments sector at
Wall Street firm MoffettNathanson Research. However, "we are likely in the earlier stages of a so-called 'crypto-
winter,' when interest in cryptocurrencies may wane over the next year-plus after the huge surge in late 2020 to
early 2021. It strikes me as a bit early for Circle to [be] listing on the public markets."

As part of the merger, Circle will raise almost $700 million in fresh capital from investors including Marshall Wace
LLP, Fidelity Management & Research Company LLC, and Adage Capital Management LP.

The new money will fuel Circle's growth into new areas, cofounder and chief executive Jeremy Allaire said.

"Through this strategic transaction and ultimate public debut, we are taking an even bigger step forward, with the
capital and relationships needed to build a global-scale Internet financial services company that can help
businesses everywhere to connect into a more open, inclusive and effective global economic system," Allaire said
in a statement.

The company's new stock ticker will be "CRCL." The merger is expected to be completed by the end of the year.
Shares of Concord Acquisition Corp. gained 7 percent to close at $10.57 on Thursday.

One difference between a traditional IPO and a SPAC merger is that a company going public via the traditional
method typically does not offer forecasts of future results but merging companies can.

Circle disclosed that its revenue totaled $15 million last year. It added a forecast that its revenue would reach $115
million for 2021 and hit $886 million by 2023. And while it forecast a loss of $76 million in adjusted earnings before
interest, taxes, depreciation, and amortization for 2021, it said it expected to have a profit of $76 million in 2023 on
that basis.

Circle's public listing will follow the debut of rival Coinbase, which started trading on the Nasdaq in April. Shares of
Coinbase have fallen 28 percent since the first day of trading April 14.


                                                     Sebastian Swett
             Case 1:19-cr-00254-ALC Document 125-5 Filed 04/18/23 Page 4 of 4
                                                                                                  Page 3 of 3
                Startup makes a splash; Cryptocurrency firm Circle going public via SPAC merger

Aaron Pressman can be reached at aaron.pressman@globe.com Follow him on Twitter @ampressman.

Classification
Language: ENGLISH


Publication-Type: Newspaper


Subject: CRYPTOCURRENCY (94%); DIGITAL CURRENCY (93%); INITIAL PUBLIC OFFERINGS (90%);
MERGERS (90%); NEGATIVE PERSONAL NEWS (90%); SECURITIES & OTHER INVESTMENTS (90%);
SPECIAL PURPOSE ACQUISITION COMPANIES (90%); BUSINESS INVESTIGATIONS (89%); CURRENCIES
(89%); INVESTIGATIONS (89%); TREASURY DEPARTMENTS (86%); COMPANY ACTIVITIES & MANAGEMENT
(79%); NEGATIVE BUSINESS NEWS (79%); PUBLIC COMPANIES (79%); BANKING & FINANCE REGULATION
(78%); FINANCIAL TECHNOLOGY (78%); MERGERS & ACQUISITIONS (78%); SHAREHOLDERS (78%); SHELL
CORPORATIONS (78%); US DOLLAR (78%); VENTURE CAPITAL (78%); PUBLIC FINANCE AGENCIES &
TREASURIES (77%); FOREIGN EXCHANGE MARKETS (76%); SHORT SELLING (76%); STOCK PRICES (76%);
PUBLIC FINANCE (75%); STOCK OFFERINGS (75%); ELECTRIC VEHICLE INDUSTRY (74%); TRENDS (72%);
EMBARGOES & SANCTIONS (71%); LAW & LEGAL SYSTEM (71%); LAW ENFORCEMENT (70%); LITIGATION
(70%); US SECURITIES & EXCHANGE COMMISSION INVESTIGATIONS (70%); ALTERNATIVE DISPUTE
RESOLUTION (65%); JUSTICE DEPARTMENTS (65%); SUITS & CLAIMS (65%); ELECTRIC VEHICLES (50%)


Organization: SECURITIES & EXCHANGE COMMISSION (54%)


Industry: CRYPTOCURRENCY (94%); DIGITAL CURRENCY (93%); CRYPTO ASSETS (90%); INITIAL PUBLIC
OFFERINGS (90%); SECURITIES & OTHER INVESTMENTS (90%); CURRENCIES (89%); DIGITAL ASSETS
(89%); TREASURY DEPARTMENTS (86%); BANKING & FINANCE REGULATION (78%); FINANCIAL
TECHNOLOGY (78%); US DOLLAR (78%); VENTURE CAPITAL (78%); PUBLIC FINANCE AGENCIES &
TREASURIES (77%); FOREIGN EXCHANGE MARKETS (76%); SHORT SELLING (76%); STOCK PRICES (76%);
STOCK OFFERINGS (75%); ELECTRIC VEHICLE INDUSTRY (74%); COMPUTER SOFTWARE (73%); US
SECURITIES & EXCHANGE COMMISSION INVESTIGATIONS (70%); SOFTWARE MAKERS (60%); ELECTRIC
VEHICLES (50%)


Geographic: BOSTON, MA, USA (79%); UNITED STATES (92%); IRAN, ISLAMIC REPUBLIC OF (54%)


Load-Date: July 9, 2021


  End of Document




                                               Sebastian Swett
